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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                       (Alexandria Division)

     INTERSECTIONS, INC., et al.                     )
                                                     )
                     Plaintiffs,                     )
                                                     )
     v.                                              )       Case No. 1:09-CV597 (LMB/TCB)
                                                     )
     JOSEPH C. LOOMIS, et al.                        )
                                                     )
                     Defendants.                     )

                                   DEFENDANTS’ TRIAL EXHIBIT LIST

             Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure and pursuant to the

     Court’s July 7, 2009 Order, Defendants Joseph C. Loomis and Jenni M. Loomis submit the

     following list of exhibits that may be offered in evidence at trial. This exhibit list is exclusive of

     exhibits that may be offered for rebuttal and/or impeachment purposes. Defendants further

     reserve the right to use any exhibits identified on the Plaintiffs’ trial exhibit list, which are not

     objected to by Defendants, and any exhibits offered by Plaintiffs and received in evidence at

     trial. Finally, Defendants reserve the right to use enlargements of any exhibits offered or

     admitted into evidence, as permitted by the Court.


TRIAL DATE     DOCUMENT DESCRIPTION                                BATES NUMBERS               MAY   EXPECT
EX.                                                                                            OFFER TO
NO.                                                                                                  OFFER
1     10/22/09 Amended Notice of 30(b)(6) Deposition                                           X
               to Intersections, Inc.
2     5/27/09 Complaint                                                                        X
3     12/15/08 Initial Response to John Scanlon from                                                         X
               Joseph Loomis
4     10/16/07 E-mail to John Scanlon from Joseph                  JL0277489                                 X
               Loomis regarding Novartis budget
5     3/9/09   NEI Investigation Memo from Madalyn                 INTX053104-                               X
               Behneman                                            INTX053113
6              Schedule 2.18(a)                                                                X
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7                 Schedule 2.18(a)                                         X
8        10/5/07 E-mail to Neil Seidman from Neal            INTX093840-   X
                  Dittersdorf regarding “NEI Due             INTX093843
                  Diligence Supplemental Requests” for
                  finalization of the Purchase Agreement
9        9/14/09 Plaintiff Intersections, Inc.’s Responses                 X
                  to Defendant Joseph C. Loomis’ First
                  Set of Interrogatories
10                Schedule 5.1                                             X
11       11/13/07 E-mail to Jason Wood from John             INTX093228,       X
                  Scanlon regarding “NEI Customer            INTX093231
                  Interview List” for clients removed and
                  then added back to list
12       8/4/08   E-mail chain to Michael Stanfield from     INTX058839-       X
                  John Scanlon regarding “Moving             INTX058841
                  Forward – Confidential” no issue with
                  tech review
13       8/24/09 Objections to Intersections, Inc.’s First                 X
                  Request for Production of Documents to
                  Jenni M. Loomis
14       7/31/09 Answer and Grounds of Defense for                         X
                  Defendant Jenni M. Loomis
15       4/28/08 Net Enforcers, Inc. Audit Trail                           X
16       9/3/07   Net Enorcers, Inc. Voided/Deleted                        X
                  Transactions Detail
17       9/15/07 Net Enorcers, Inc. Voided/Deleted                         X
                  Transactions Detail
18       10/8/07 Net Enorcers, Inc. Voided/Deleted                         X
                  Transactions Detail
19       10/7/07 Net Enorcers, Inc. Voided/Deleted                         X
                  Transactions Detail
20       9/30/07 Net Enorcers, Inc. Voided/Deleted                         X
                  Transactions Detail
21       2/12/08 Net Enorcers, Inc. Voided/Deleted                         X
                  Transactions Detail
22       10/2/07 E-mail to Joseph Loomis from Jenni          INTX097877    X
                  Loomis regarding “Billpay” for Novartis
23       11/12/07 E-mail to Jenni Loomis from Joseph         JL0264925         X
                  Loomis regarding “Novartis” billing for
                  November, 2007
24       11/5/07 E-mail to Joseph Loomis from Jenni          INTX084522    X
                  Loomis regarding “billing” for Chief
                  through credit
25       10/30/09 Letter to Michelle Dickinson from                        X
                  Hunter, Humphrey & Yavitz regarding



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                  NEI documents prior to stock purchase
                  (Bank of America documents)
26       4/3/07   E-mail to Jenni Loomis from Joseph       INTX152209-           X
                  Loomis regarding “Sony Invoices”         INTX152212
                  procedure for entering into system
27       5/3/07   E-mail to Danielle DiDio from Jenni                            X
                  Loomis regarding “Billing” Per Diem
                  budgets for Sony’s divisions
28       6/20/07 E-mail to Danielle DiDio from Jenni                                 X
                  Loomis regarding “Sony” divisions Per
                  Diems
29       1/9/08   E-mail to Danielle DiDio from Joseph     INTX094406-           X
                  Loomis regarding “Sony Per Diem for      INTX094407
                  December”
30       6/24/08 E-mail chain to Danielle DiDio from       INTX098605-           X
                  Jenni Loomis regarding “New LMS          INTX098610
                  Billing Process”
31       7/2/08   E-mail to Danielle DiDio from Jenni                            X
                  Loomis regarding “New LMS Billing
                  Process” credit memos
32       7/31/07 Net Enforcers, Inc. Invoice to Sony                             X
                  Electronics (Invoice No. 201605)
                  (Balance Due=$0)
33       1/31/08 Net Enforcers, Inc. Invoice to Sony                             X
                  Electronics (Invoice No. 203378)
                  (Balance Due=$19,350.93)
34       10/9/07 E-mail to Larry Heimer from Jenni         JL0223390-JL0223392   X
                  Loomis regarding “Questions on our
                  Books” and journal entries of cars
                  financed by Capital One
35       10/24/07 E-mail to Joseph Loomis from Jenni       INTX096643-           X
                  Loomis regarding “Final QB Workings”     INTX096646
36       2/14/08 E-mail to Joetta Kilby from Jenni                               X
                  Loomis regarding “Tax entries need to
                  come out of the books ASAP”
37       2/7/08   E-mail to Joseph Loomis from Jenni       JL0222758-JL0222759   X
                  Loomis regarding “Additional Questions
                  for the Tax Return”
38       10/24/08 Petition for Injunction Against                                X
                  Harassment – Plaintiff: Joseph Loomis;
                  Defendant: Keith Jenkins
39       1/16/08 Injunction Against Harassment –                                 X
                  Plaintiff: Sheilah Snyder; Defendant:
                  Joseph Loomis




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40       1/16/09   Petition for Injunction Against                                 X
                   Harassment – Plaintiff: Sheilah Snyder;
                   Defendant: Joseph Loomis
41       1/21/09   Petition for Workplace Injuction –                              X
                   Plaintiff: American Medical Services,
                   LLC; Defendant – Sheilah Snyder
42       2006-     Net Enforcers, Inc.’s Discounted Cash                           X
         2011      Flow Analysis/Valuation
43       11/9/07   Stock Purchase Agreement                  INTX046608-           X
                                                             INTX046672
44       7/2/09   Answer, Grounds of Defense and                                   X
                  Counterclaim of Defendant Joseph C.
                  Loomis
45       11/30/07 Net Enforcers, Inc. Estimated Closing      INTX046221-           X
                  Balance Sheet                              INTX046220
46       2/28/08 Letter to Joseph Loomis from John                                 X
                  Scanlon regarding draft Closing Balance
                  Sheet for Stock Purchase Agreement
                  dated November 9, 2007
47                Schedule 2.7                               INTX046380-           X
                                                             INTX046404
48                 Schedule 2.23                             INTX046552-           X
                                                             INTX046555
49                 Schedule 2.18(a)                          INTX046532-           X
                                                             INTX046541
50       9/6/07   Letter to Joseph Loomis from Kris          INTX093740            X
                  Murray (CSAV, Inc.) regarding official
                  notice of termination of Internet
                  Enforcement Agreement
51       9/29/09 E-mail to James O’Neill from Melissa        INTX094454-           X
                  Roth regarding “Invoice from Net           INTX094455
                  Enforcers, Inc.”
52       9/14/07 E-mail to Joseph Loomis from Kevin          INTX093730            X
                  Jones regarding “Update from Sanus –
                  Info Needed”
53       10/26/07 E-mail to Rebecca Krause and Kevin         JL0285201-JL0285203       X
                  Jones from Joseph Loomis regarding
                  “Net Enforcers Call Follow Up”
                  lowering Chief/Sanus payments to
                  $1,000
54       9/12/07 E-mail to Phillip Murawski from Joseph                            X
                  Loomis regarding “Net Enforcers
                  Update” with providing services to NEC
                  Display Solutions of America, Inc.
55       11/1/07 E-mail to Cathy Hussar (NEC Display)        JL0165502-JL0165521   X
                  from Amanda Johnson regarding


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                   “Pending MAP notices”

56       10/13/08 E-mail to Stuart Bennett from Joseph        INTX000245-   X
                  Loomis regarding “Emailing: Samsung”        INTX000251
57       10/30/07 E-mail to Stuart Bennett from Amanda        INTX093742    X
                  Johnson regarding suspension of any
                  enforcement activities on Magellan
                  products
58                Schedule 2.17(h)                            INTX046516-   X
                                                              INTX046517
59       10/24/07 E-mail to Jason Wood and Danielle           INTX093678    X
                  DiDio from Joseph Loomis regarding
                  “Schedule for P/S & Timeline”
60       10/26/07 E-mail to Danielle DiDio from Rebecca                     X
                  Krause regarding “Top 20 – Updated”
                  Top 20 Customers by Revenue and Top
                  Contact List for Intersections
61       9/24/07 E-mail to Ross Volk from Joseph              INTX094283    X
                  Loomis regarding “Follow up” on
                  shutting down services
62       10/5/07 E-mail to Neal Dittersdorf from Joseph       INTX090877-   X
                  Loomis regarding “NEI Due Diligence         INTX090882
                  Supplemental Requests”
63       10/16/07 E-mail to Danielle DiDio from Joseph        INTX094432    X
                  Loomis regarding “Follow up” 6- day
                  termination clause for Novartis
64       11/30/07 Closing Certificate of Joseph C. Loomis     INTX046192-   X
                  and Net Enforcers, Inc.                     INTX046193
65       11/30/07 Employment Agreement                        INTX046204-   X
                                                              INTX046219
66       11/19/08 Letter to Joseph Loomis from John                             X
                  Scanlon regarding NEI termination of
                  Joseph Loomis’s employment and
                  Employment Agreement for “Cause”;
                  Letter to Joseph Loomis from John
                  Scanlon as notice pursuant to Section 8.1
                  of Stock Purchase Agreement
67       9/8/09   Defendant Joseph C. Loomis’s
                  Responses to Plaintiff Intersections,
                  Inc.’s First Set of Interrogatories
68       10/20/08 Letter to Joseph Loomis regarding                         X
                  “Cause” for immediate termination (i.e.
                  conduct which constitutes breach of
                  fiduciary duties)
69       11/6/09 Defendant Joseph C. Loomis’s                               X
                  Responses to Plaintiff Net Enforcers,


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                    Inc.’s First Set of Interrogatories

70       11/1/05    Sony Electronics, Inc. Confidential                               X
                    Contract Summary and Authorization;
                    Services Agreement
71       3/5/07     Amendment to Services Agreement                                   X
72       4/18/07    Amendment Two to Services Agreement                               X
73       11/27/07   Amendment Three to Services                 INTX046178-           X
                    Agreement                                   INTX046179
74       11/28/07   Letter to Joseph Loomis from Lance          INTX046156-           X
                    Venable regarding Fee Agreement             INTX046159
75       11/8/07    Letter Support System Services              INTX046585-               X
                    Agreement                                   INTX046592
76       11/28/07   E-mail to Neal Dittersdorf from Larry       INTX046350-           X
                    W. McFarland regarding “Retainer            INTX046351
                    Agreement with Sony Electronics”
77       11/19/07   Amendment to Internet Enforcement           INTX046181-           X
                    Agreement                                   INTX046183
78       11/16/07   Letter to Bruce Longbottom (Lily            INTX046340-           X
                    Corporate Center) from Larry                INTX046343
                    McFarland regarding Retainer
                    Agreement/Eli Lilly and Company
79       11/12/07   E-mail to Jenni Loomis from Joseph          JL0265341-JL0265342   X
                    Loomis regarding “Copy of Net
                    Enforcers YTD-Final for INTX 11-8-07”
                    Excel Sheet
80       8/15/07    Net Enforcers, Inc. Balance Sheet                                 X
                    Summary Comparision
81       2/12/08;   Net Enforcers, Inc. Voided/Deleted                                X
         8/15/07    Transactions Details; Net Enforcers, Inc.
                    Balance Sheet Summary Comparision
82       9/3/09     E-mail to Joseph Loomis from Larry          JL0229979- JL0229984 X
                    Heimer regarding “Tax entries need to
                    come out of the books ASAP”
83       1/31/07    E-mail to Jenni Loomis from Barbara         INTX198288-           X
                    Davis regarding Billing Excel for           INTX198321
                    January 2007
84       2/28/07    E-mail to Jenni Loomis from Barbara         INTX199019-           X
                    Davis regarding February Billing Excel      INTX199030
                    2007
85       3/30/07    E-mail to Joseph Loomis from Barbara        INTX198322-           X
                    Davis regarding “Billing March 2007”        INTX198334
86       5/1/07     E-mail to Joseph Loomis from Barbara        INTX198240-           X
                    Davis regarding “April Billing”             INTX198252
87       6/1/07     E-mail to Joseph Loomis from Barbara        INTX199243-           X



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                   Davis regarding “May 2007 Billing”        INTX199261
88        7/5/07   E-mail to Joseph Loomis from Barbara      INTX199171-   X
                   Davis regarding “June Billing Excel”      INTX199192
89        8/1/07   E-mail to Joseph Loomis from Barbara      INTX199150-   X
                   Davis regarding “July 2007 Billing”       INTX199170
90        9/4/07   E-mail to Jenni Loomis from Barbara       INTX198253-   X
                   Davis regarding “Invoice” August 2007     INTX198269
                   Billing
91        9/4/07   E-mail to Jenni Loomis from Barbara       INTX198270-   X
                   Davis regarding “Invoice” August 2007     INTX198287
                   Billing – Corrections for Soundstream
92        10/3/07 E-mail to Joseph Loomis from Barbara       INTX199396-   X
                   Davis regarding “September 2007           INTX199436
                   Billing”
93        10/29/07 E-mail to Joseph Loomis from Barbara      INTX199329-   X
                   Davis regarding “October Billing Excel”   INTX199341
94        11/30/07 E-mail to Joseph Loomis from Barbara      INTX199307-   X
                   Davis regarding November 07 Billing       INTX199328
                   Excel”
95        10/1/06 Log of pharmaceutical websites that                      X
                   letters were sent to
96        6/1/07   Log of pharmaceutical websites that                     X
                   letters were sent to
97        1/1/06   Log of pharmaceutical websites that                     X
                   letters were sent to
98        3/1/06   Log of pharmaceutical websites that                     X
                   letters were sent to
99        3/1/06   Log of pharmaceutical websites that                     X
                   letters were sent to
100       3/1/06   Log of pharmaceutical websites that                     X
                   letters were sent to
101       3/1/06   Log of pharmaceutical websites that                     X
                   letters were sent to
102       3/1/06   Log of pharmaceutical websites that                     X
                   letters were sent to
103       8/17/07 E-mail to Brett Bender from Madalyn        INTX052706-   X
                   Behneman regarding Net Enforcers and      INTX046672
                   helping Joetta
104       11/22/09 Notice of Deposition Madalyn                            X
                   Behneman
105       3/9/09   Memo from Madalyn Behneman                INTX053104-        X
                   regarding “NEI Investigation”             INTX053113
106       1/1/09   NEI Revenue Assurance (Draft)             INTX053178-        X
                                                             INTX053187




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107       3/17/09   E-mail to Melinda Covert and Chris        INTX051636-       X
                    Cwalina from Madalyn Behneman             INTX051649
                    regarding “NEI memo”
108       3/11/09   E-mail to Jay Spinella from Madalyn       INTX052672-       X
                    Behneman regarding Net Enforcers          INTX052677
                    Revenue Recognition
109       5/6/09    Memo to Madalyn Behneman and Jay          INTX051409-
                    Spinella regarding “NEI Response to       INTX051412
                    Summary of Potential Issues”
110       9/9/08    E-mail to Michael Stanfield from John     INTX058674-       X
                    Scanlon regarding NEI Debrief             INTX058681
111       4/22/08   E-mail to John Scanlon from Madalyn       INTX054039-       X
                    Behneman                                  INTX054040
112       5/30/08   E-mail to Sheilah Snyder from Joseph      INTX044194-   X
                    Loomis regarding “Jenni Loomis” and       INTX044199
                    Keith’s accessing the accounts to edit
                    entries
113       8/17/07   E-mail to Brett Bender from Madalyn       INTX052706-   X
                    Behneman regarding “Net                   INTX052707
                    Enforcers”and someone in accounting to
                    help Joetta
114       1/5/09    E-mail to Madalyn Behneman from           INTX048011-   X
                    Michelle Tutt regarding NEI Closing       INTX048014
                    Documents per Section 7.3(m) – QB
                    Application
115       8/4/08    E-mail to Michael Stanfield from John     INTX058839-       X
                    Scanlon regarding “Moving Forward” no     INTX058841
                    issues with the tech review
116       8/22/07   E-mail to Neal Dittersdorf, Wendy         INTX056378-       X
                    Weinberger, Michelle Tutt, Susan Estes,   INTX056379
                    Chip Tsantes, Pete Enghauser, Madalyn
                    Behneman Brett Bender, Tracy Watd,
                    Eric A. Miller from John Scanlon
                    regarding Net Enforcers Due Diligence
                    Schedule Update
117       9/10/07   E-mail to Neal Ditterdorf, Tim            INTX056375-       X
                    Rohrbaugh, Madalyn Behneman,              INTX056376
                    Michelle Tutt, Chip Tsantes, Lynn
                    Sheck from John Scanlon regarding “Joe
                    Loomis Visit on Wednesday”
                    questioning Loomis on due diligence
118       9/13/07   E-mail to John Scanlon, Michael           INTX058481-       X
                    Stanfield, Neal Ditterdorf, Tracy Ward,   INTX058484
                    Brett Bender from Madalyn Behneman




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119       2/22/08  E-mail to John Scanlon, Madalyn          INTX054379              X
                   Behneman, and Jenni Loomis from
                   Joseph Loomis regarding “Missed
                   Billing” for Johnson Outdoors
                   (Eureka/Minnkota/Humminbird/Cannon)
120       9/5/08   E-mail to Madalyn Behneman from John     INTX054461              X
                   Scanlon regarding “Net Enforcers
                   Invoices”
121       8/4/08   E-mail to Neal Dittersdorf from          INTX054135-             X
                   Madalyn Behneman regarding NEI taxes     INTX054136
122       11/19/08 Letter to Joseph Loomis from John        INTX055911-             X
                   Scanlon regarding terminating Joseph     INTX055921
                   Loomis’s employment and Employment
                   Agreement for “Cause” pursuant to
                   Paragraph 6(a)(iii)(b) and (c)
123       1/22/07 E-mail to David Burns from Joseph         CK002223-CK002225   X
                   Loomis regarding “Fee Discussion”
124       2006-    Net Enforcers, Inc.’s Discounted Cash    INTX198970          X
          2011     Flow Analysis/Valuation
125       2/5/07   E-mail to David Burns from Joseph        CK001961            X
                   Loomis regarding “Brady”
126       2/1/07   WebEyeQ, David Burns from Joseph         CK002752-CK002757   X
                   Loomis regarding “Touching Base”
127       2/7/07   E-mail to Joseph Loomis from Michael     CK002764-CK002773   X
                   Gilburd regarding “Valuation”
128       2/13/07 E-mail to David Burns from Joseph         CK002557-CK002559   X
                   Loomis regarding “Net Enforcers” and
                   projected values (15M-25M)
129       2/20/07 E-mail to David Burns from Joseph         CK002614-CK002615   X
                   Loomis regarding “PE Firms”
130       3/28/07 E-mail to John Scanlon from Michael       INTX198869-         X
                   Stanfield regarding “M&A Online Brand    INTX198884
                   Security”
131       4/1/07   E-mail to Joseph Loomis from Matt        CK000125-CK000195   X
                   Wells regarding “Brady – Net Enforcers
                   April 2007”
132       4/4/07   E-mail to David Burns from Matt Wells    CK000524-CK000526   X
                   regarding “Brady Present Financials –
                   Growth Page and Stand Alone”
133       4/12/07 E-mail to John Scanlon from Matt Wells    INTX1988897-        X
                   regarding “Net Enforcers” an overview    INTX198957
                   “Protecting Your Brand Online”
134       5/1/07   E-mail to David Burns from Joseph        CK002340-CK002342   X
                   Loomis regarding “IACC & Concerns”
135       5/9/07   E-mail to David Burns from Joseph        CK002663-CK002664   X
                   Loomis regarding “Report from Net


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                 Enforcers, Inc.”
136   5/18/07    E-mail to David Burns from John            INTX138082-           X
                 Scanlon regarding “Net Enforcers”          INTX138084
                 numbers look promising and support
                 the10M valuation
137   7/16/07    E-mail to David Burns from John            INTX137926-           X
                 Scanlon regarding “Deal today”             INTX137928
                 calculating revenue
138   11/25/09   Letter to David Fisher from Christopher    INTX137926-           X
                 Cwalina regarding number of letters sent   INTX137928
                 by Net Enforcers during certain months
                 (Sony Legal Letter Analysis)
139   9/14/07    E-mail to David Burns from Joseph          CK002197              X
                 Loomis regarding “Email to INTX”
                 focusing on Net Enforcers
140   9/14/07    E-mail to David Burns from Joseph          CK002713-CK002715     X
                 Loomis regarding “Thank you & Getting
                 to 1B”
141   11/12/07   E-mail to Stuart Bennett from Joseph       CK000842-CK000924     X
                 Loomis regarding “Pro-Froma”
142   11/12/07   E-mail to Jenni Loomis from Joseph         JL0265341-JL0265343   X
                 Loomis regarding “Copy of Net
                 Enforcers YTD-Final for INTX 11-8-07”
143   11/20/07   E-mail to Joseph Loomis from Neil                                X
                 Seidman regarding “Closing Balance
                 Sheet”
144              Schedule 5.1                                                     X
145   8/7/07     E-mail to Joseph Loomis from Mark                                X
                 Hildebrandt regarding “My Setup”
                 Antec Nine Hundred
146   11/21/07   E-mail to Joseph Loomis from John                                X
                 Scanlon regarding “Closing Balance
                 Sheet”
147   11/29/07   E-mail to Madalyn Behneman from John       INTX054311-           X
                 Scanlon regarding “Revised Funds           INTX054317
                 Flow”
148
149
150   12/3/09  Subpoena with Exhibit A – Stan Smith                               X
151            Stan Smith CV                                                      X
152   12/1/09 Letter to Thomas Dunlap from Stan                                   X
               Smith regarding Rebuttal Report
153   11/13/09 Letter, Report, Tables, Curriculum                                     X
               Vitae, List of four (4) cases, Documents
               Reviewed to Thomas Dunlap from Stan


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                Smith

154   11/9/07  Employment Agreement                                            X
155            Cross Keys Capital Letter regarding                             X
               Cyveillance, Inc.
156   11/19/09 Invoice to Thomas Dunlap from Stan                              X
               Smith
157   2/26/07 Letter to Joseph Loomis from Larry           Heimer_HC_000002-   X
               Heimer regarding documents relating to      Heimer_HC_000003
               Loomis’s personal financial condition
158   12/31/06 QB Accounting                               INTX203361-         X
                                                           INTX203364
159   11/30/07 QB Accounting                               Heimer_HC_000389-   X
                                                           Heimer_HC_000390
160   8/15/07  Net Enforcers, Inc. Balance Sheet                               X
               Summary Comparision
161   8/13/07 Net Enforcers, Inc. Voided/Deleted                               X
               Transactions Detail
162   8/30/07 Net Enforcers, Inc. Voided/Deleted                               X
               Transactions Detail
163   9/3/07   Net Enforcers Voided/Deleted                                    X
               Transactions Detail
164   9/8/07   Net Enforcers Voided/Deleted                                    X
               Transactions Detail
165   2/12/08 Net Enforcers Voided/Deleted                                     X
               Transactions Detail
166            Net Enforcers, Inc. Audit Trail –                               X
               Reclassified Expenses
167   4/28/08 Net Enforcers, Inc. Audit Trail                                  X
168   10/9/07 E-mail to Joseph Loomis from Jenni           INTX096755-         X
               Loomis regarding “Questions on our          INTX096762
               Books”
169   10/26/07 E-mail to John Scanlon, Michael             INTX043689-         X
               Stanfield, Neal Ditterdorf, Neil Seidman,   INTX043691
               Jason Wood, J.P. Vorak, L. McFarland,
               David Burns, Tammy Gregory, Tammie
               Ettner from Joseph Loomis regarding
               “INTX NEI Closing Checklist”
170   11/27/07 E-mail to Tracy Ward from Madalyn           INTX055284-         X
               Behneman regarding “Closing Balance         INTX055298
               Sheet”
171   12/31/07 E-mail to Joseph Loomis from Jenni          INTX097127-             X
               Loomis regarding “Updated                   INTX097132
               Transactions to Record in Books”




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172    1/28/08  E-mail to Joseph Loomis and Larry                                 X
                Heimer from Jenni Loomis regarding
                “NE Data Request”
173    1/11/08 E-mail to Larry Heimer from Jenni            INTX205605-           X
                Loomis regarding “Adjustments”              INTX205606
174    2/7/08   E-mail to Larry Heimer from Joseph          JL0225013-JL0225016   X
                Loomis regarding “Additional Questions
                for the Tax Return”
175    2/12/08 E-mail to Jenni Loomis from Joetta           JML0008968-           X
                Kilby regarding “Tax entries need to        JML0008970
                come out of the books ASAP”
176    11/13/09 Report of Plaintiff’s Expert Marc B.                              X
                Sherman
177    12/2/09 Rebuttal of Defendants’ Expert Stan V.                             X
                Smith and Updated Report of Marc B.
                Sherman
178-   12/8/09 Loomis Subpoena Response                                           X
188
                 Sensei Enterprises, Inc. (Case No. 1740)                         X
189    12/9/09   Google Finance Page                                              X
190    1/1/09    NEI Revenue Assurance                      INTX053178-           X
                                                            INTX053187
191    6/5/09    NEI Revenue Process Status Update          INTX048466-           X
                                                            INTX048470
192    12/15/08 Letter to John Scanlon from Joseph          INTX047953-               X
                Loomis – Initial Response to Claims         INTX047965
                made in the November 19, 2008 Letter
                from John Scanlon to Joseph Loomis
193    8/4/08   E-mail to John Scanlon from Michael         INTX058912-               X
                Stanfield regarding “Moving Forward”        INTX058919
194    12/2/09 Subpoena to Net Enforcers, Inc. with                               X
                Attachment A; Notice of Deposition to
                Net Enforcers, Inc.
195    11/19/08 Letter to Joseph Loomis from John           INTX055193-           X
                Scanlon regarding “notice pursuant to       INTX055201
                Section 8.1 of the Stock Purchase
                Agreement”
196    10/31/07 Amended and Restated Office Lease           INTX059654-           X
                                                            INTX059671
197    4/19/07   Exhibit A – Statement of Work              INTX047906-           X
                                                            INTX047930
198    10/28/09 E-mail to Melissa Roth from Chris           INTX199039-           X
                Cwalina regarding “Letter” – E-mail         INTX199041
                from Dave Fisher regarding Sony
                payment



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199   11/25/09 Letter to David Fisher from Christopher   INTX398681-   X
               Cwalina regarding mathematical error      INTX398683
200   11/12/09 Expert Report of Eric V. Mazur                          X
201            Intersections “Notes for Report”                        X
202   8/21/08 E-mail to John Scanlon from Joseph                             X
               Loomis regarding “Moving Forward”
               and Michael Stanfield’s e-mail
203   8/4/08   E-mail to Michael Stanfield from John     INTX058839-         X
               Scanlon regarding “Moving Forward” no     INTX058846
               issues with tech review
204   9/9/08   E-mail to Michael Stanfield from John     INTX058674-         X
               Scanlon regarding “NEI Debrief”           INTX058681
205   9/12/08 E-mail to Madalyn Behneman from John       INTX063114-         X
               Scanlon regarding “Triggering Events –    INTX063116
               Impairment of Goodwill
206   8/25/08 E-mail to Michael Stanfield from Joseph    INTX132093-         X
               Loomis regarding “Talents & Moving        INTX132098
               Forward” after conversation with Chip
207   10/21/08 E-mail to John Scanlon from Michael       INTX058955-         X
               Stanfield regarding “Request”             INTX058956
208   10/22/09 E-mail to Melissa Roth from Michelle                          X
               Dickinson regarding “Circus Act”
209   10/22/08 E-mail to Michael Stanfield from John     INTX141091-         X
               Scanlon regarding “Letter as discussed”   INTX141094
               and death threats
210   8/12/08 E-mail to Eric A. Miller, Lynn Sheck,                          X
               Chip Tsantes, Joe Chiappetta, Steve A.
               Schwartz, Joe Vacca, Tim Walston, Patti
               Stiffler, Michael Stanfield, Madalyn
               Behneman, Michelle Tutt, Neal
               Dittersdorf, Katherine Hunt, Chris
               Shenefelt, John Scanlon, Joseph Loomis,
               Steve Sjoblad, Bob Hill, Jimmy Stewart,
               Diane Flanagan, Ron Naling, Mike
               Wojahn, Dennis Furey, Andreew
               Saulitis, Reena Singh from Kevin
               Gibson regarding “2009 Budget
               Timeline”
211   10/6/08 E-mail to Steve Sjoblad, Scott Smith,      INTX102542-         X
               Joseph Loomis, Katherine Hunt from        INTX102548
               John Scanlon regarding “G&A
               Initiative”
212   11/9/07 Employment Agreement                                     X
400   8/31/06 Yahoo NOI Review                           JL0000862 -   X
                                                         JL0000863



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401            Letter Management Module                   JL0000880-JL0000888   X
402            Introduction to the Letter Management      JL0000889 -           X
               System                                     JL0000914
403            LMS3 Flow Process                          JL0000915                 X
404            LMS3 Flow Process                          JL0000916             X
405   11/18/04 Confidentiality and Inventions             JL0001386 -           X
               Agreement – Adam Badlotto                  JL0001393
406   8/5/07   E-mail from Joseph Loomis to Tim and       JL0002077 -           X
               Eric at AZ Crown regarding “Year to        JL0002079
               Date Financials – Deals in the Pipeline”
407   10/6/06 Fax from Chief Sanus regarding              JL0003137-JL0003141   X
               Confidentiality and Non-Disclosure
               Agreement dated October 3, 2006
408            IT Professional Services Agreement         JL0004470-JL0004511   X
409   5/2/05   Net Enforcers Execution Procedure –        JL0004695-JL0004698   X
               Magellan
410   12/1/06 NEI: A Strategic Plan to Eradicate          JL0005213-JL0005244   X
               Online Brand Destruction &
               Unauthorized Internet Sales
411   4/7/09   Attachment A – Statement of Work No.       JL0005266-JL0005271   X
               4
412   1/11/06 Online Product Distribution Tracing,        JL0007628-JL0007647   X
               Enforcement & Monitoring Proposal
413   4/1/07   Amendment Two to Services Agreement        JL0009101-JL0009111   X
414   11/2/06 Amendment to Services Agreement             JL0009131             X
415   8/5/07   E-mail from Joseph Loomis to Tim and       JL0010787-JL0010789   X
               Eric at AZ Crown regarding “Year to
               Date Financials – Deals in the Pipeline”
416   10/27/07 Schedule 5.1                               JL0012485             X
417   7/9/07   Letter from Joseph Loomis to               JL0022208-JL0022209   X
               Department of Revenue regarding
               payment notices from 2003 and 2004 tax
               seasons
418   8/5/07   E-mail from Joseph Loomis to Tim and       JL0023816-JL0023818       X
               Eric at AZ Crown regarding “Year to
               Date Financials – Deals in the Pipeline”
419            Due Diligence Chart                        JL0024331-JL0024365       X
420   10/16/07 E-mail from Joseph Loomis to John          JL0024373                 X
               Scanlon regarding “Novartis”
421   5/6/08   E-mail from Jenni Loomis to Jason          JL0024374-JL0024377   X
               Wood regarding “Invoice # 203325”
422   9/5/08   E-mail from Jenni Loomis to John           JL0024409-JL0074725   X
               Scanlon regarding “RE: In Response to
               your Email”
423   2/27/07 2007 Appraised Value of Net Enforcers       JL0024430             X


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424   2/1/07   2007 Business Model Projections          JL0024431-JL0024453   X
425   4/18/07  Net Enforcers Comparison chart           JL0024454             X
426   1/6/09   Arizona S Corporation Income Tax         JL0024455-JL0024461   X
               Return
427   10/17/07 E-mail to Joseph Loomis from John        JL0024553             X
               Scanlon regarding “Revised Draft SPA
               and Draft Employment Agreement”
428   9/30/09 INTX Option Pricing Model                 JL0024679-JL0024689   X
429            Comment to Disclosure Schedules (Part    JL0024772-JL0024775   X
               2)
430            Schedules                                JL0024782-JL0024847   X
431            NE Clients Purchase Log                  JL0074746-JL0074788   X
432   10/2/07 Captira Finance Due Diligence             JL0094648-JL0094662   X
               Questionnaire
433            NEI Estimated Closing Balance Sheet      JL0095414-JL0095427   X
434   10/8/07 E-mail to Phil Murawski to Amanda         JL0133777-JL0133779   X
               Johnson regarding conference call to
               discuss programs, costs, and any other
               issues
435   11/1/07 E-mail from Amanda Johnson to Cathy       JL0133782-JL0133784   X
               Hussar regarding “Pending MAP
               notices”
436   2/6/07   E-mail from Amanda Johnson to Dave       JL0133825             X
               Busch regarding “clients who did not
               Respond”
437   9/10/07 E-mail from Amanda Johnson to Joseph      JL0134646             X
               Loomis regarding “NEC Convo”
438   8/17/07 E-mail to Joseph Loomis from Amanda       JL0134648             X
               Johnson regarding “cancellation”
439   8/30/07 E-mail to Joseph Loomis from Amanda       JL0134747                 X
               Johnson regarding “Net Enforcers
               Update”
440   11/9/07 E-mail from Amanda Johnson to Stuart      JL0135429-JL0135430   X
               Bennett regarding “NEC Update”
441   9/25/07 E-mail between Andrew Jackson and         JL0135669-JL0135670   X
               Joseph Loomis “Re: Net Enforcers -
               Greetings Andrew **IMPORTANT**”
442            IRS e-Filing 2008                        JL0135679-JL0135680   X
443            IRS e-Filing 2008                        JL0135690-JL0135691   X
444   6/25/08 E-mail from Carmen Cavanagh to            JL0135711-JL0135713   X
               Joseph Loomis regarding “The quote
               P0172365 you have requested”
445   6/25/08 E-mail from Carmen Cavanagh to            JL0135716-JL0135717   X
               Joseph Loomis regarding “The quote
               P0172365 you have requested”


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446              IRS e-Filing 2008                      JL0135783-JL0135784   X
447              IRS e-Filing 2008                      JL0135785-JL0135786   X
448   10/25/07   E-mail from Danielle Didio to Joseph   JL0150488-JL0150489   X
                 Loomis regarding “Schedule for P/S &
                 Timeline”
449   10/4/07    E-mail between Joseph Loomis, Jenni    JL0150516-JL0150518   X
                 Loomis and Danielle DiDio “RE: Sony
                 Ship Back”
450   8/6/07     E-mail between Joseph Loomis and       JL0180627-JL0180634   X
                 David Burns "Intersections"
451   7/23/07    Email between David Burns and Joseph   JL0180961-JL0180963   X
                 Loomis "RE: 2007 Sales Projections
                 Expectations & Strategy
452   8/7/07     E-mail between Joseph Loomis and       JL0181796-JL0181799   X
                 David Burns "RE: Net Enforcers Items
                 to Discuss."
453   9/27/07    E-mail from David Burns to Joseph      JL0182255-JL 0182256 X
                 Loomis regarding “Tax Issues”
454   7/1/07     E-mail between Joseph Loomis and       JL0182350-JL0182356   X
                 David Burns "RE: Thank you -"
455   7/24/07    E-mail between Joseph Loomis and       JL0182402-JL0182404   X
                 David Burns "RE: update"
456   2/18/08    E-mail between Intuit and Joseph       JL0183274-JL0183275   X
                 Loomis “Regarding your tax document
                 (do not respond)”
457   10/24/07   Email between Jason Wood and Joseph    JL0185109             X
                 Loomis "amended highlighted closing
                 checklist"
458   10/30/07   E-mail from Jason Wood to Joseph       JL0185409- JL0185410 X
                 Loomis regarding “Comments to
                 disclosure schedules”
459   10/29/07   E-mail from Jason Wood to Joseph       JL0186056-JL0186057   X
                 Loomis regarding “Schedules”
460   10/26/07   E-mail from Jason Wood to Joseph       JL0186339             X
                 Loomis regarding “INTX Schedules”
461   10/24/07   Stock Purchase Agreement               JL0186341-JL0186345   X
462   10/17/07   E-mail to Joseph Loomis from Jason     JL0187128             X
                 Wood regarding “Revised Draft SPA
                 and Draft Employment Agreement”
463   10/31/07   E-mail from Jason Wood to James        JL0188371-JL0188373   X
                 Dvorak regarding “NEI Updated
                 Schedule in Word Format”
464   11/9/07    E-mail from Jason Wood to James        JL0188458-JL0188459   X
                 Dvorak regarding “Email 1 of 2”
465   11/9/07    E-mail from Jason Wood to James        JL0188460-JL0188461   X



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                 Dvorak regarding “Email 2 of 2”
466   11/9/07    E-Mail between Jason Wood, Neil          JL0189497-JL0189501   X
                 Seidman and James Dvorak “SPA and
                 Cohen Documents EXECUTED
                 Signature Pages”
467   2/18/08    E-mail between Jenni Loomis and          JL0190738-JL0190739   X
                 Joseph Loomis “RE: Intuit”
468   12/31/07   E-mail from Jenni Loomis to Joseph       JL0191108-JL0191121   X
                 Loomis regarding “Updated
                 Transactions to Record in Books”
469   1/10/08    Email between Jenni Loomis and           JL0191281-JLO191282 X
                 Rebecca Krause, Stuart Bennett, Joseph
                 Loomis, Gary Rosenberg "RE: Net
                 Enforcers & MAP Services"
470              RE: net enforcers                        JL0191777-JL0191789   X
471   10/24/07   E-mail between Joseph Loomis and         JL0191800                 X
                 David Burns "RE: Contract"
472   10/16/07   E-mail between Joseph Loomis and         JL0192036-JL0192039   X
                 Danielle DiDio “Termination Claus”
473   9/6/07     E-mail between Joseph Loomis and         JL0192041-JL0192067   X
                 Stuart Bennett "Financials"
474   10/10/07   E-mail between Joseph Loomis and         JL0192075-JL0192077   X
                 David Burns "FW: Tax refund"
475   9/7/07     Financials and Projections               JL0192078-JL0192086   X
476   10/12/07   E-mail between Joseph Loomis and         JL0192087-JL192088    X
                 David Burns "RE: Agreement for
                 Review"
477                                                                             X
478   9/11/07    E-mail between Joseph Loomis and         JL0192098             X
                 David Burns "RE: P&L"
479                                                                             X
480   11/1/07  E-mail from Joseph Loomis to Jason         JL0192134-JL0192136       X
               Wood regarding “Customers to be
               interviewed by INTX”
481   2/12/08 E-mail from Joseph Loomis to Jenni          JL0192197-JL0192201   X
               Loomis regarding “Tax entries need to
               be come out of the books ASAP”
482   10/16/07 E-mail between John Scanlon and            JL0192415             X
               Joseph Loomis “Novartis”
483   8/6/08   E-mail between Joseph Loomis, John         JL0192444-JL0192456       X
               Scanlon, Madalyn Behneman and James
               Waller “RE: Draft Tax Filings”




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484-   7/31/08   E-mail between John Scanlon and          JL0192457-JL0192459;       X
485              Joseph Loomis “RE: Draft Tax Filings”    JL0192461-JL0192502;
                                                          JL0192503-
                                                          JL0192553;JL0192554-
                                                          JL0192594;
                                                          JL0192595-JL0192659
486    10/29/07 E-mail from Joseph Loomis to John         JL0192698-JL0192700    X
                Scanlon regarding “NEI P/S Schedules”
487    10/16/07 E-mail to John Scanlon from Joseph        JL0192710              X
                Loomis regarding “Revised Draft SPA
                and Draft Employment Agreement”
488    10/16/07 E-mail between John Scanlon and           JL0192731              X
                Joseph Loomis “RE: visit”
489    8/13/08 E-mail between Larry Heimer and            JL0192895-JL0192902    X
                Joseph Loomis “RE: Draft Tax Filings”
490    8/19/07 E-mail from Joseph Loomis to Phil          JL0192963              X
                Murawski regarding “Net Enforcers
                Update”
491    10/16/07 E-mail from James Dvorak to Neil          JL0193001              X
                Seidman regarding “Revised Draft SPA
                and Draft Employment Agreement”
492    11/28/07 E-mail between Joseph Loomis and John     JL0193197-JL0193206    X
                Scanlon “closing balance sheet”
493    11/21/07 E-mail from John Scanlon regarding        JL0195554-JL0195561        X
                “Closing Balance Sheet” and why it is a
                deduction (negative number)
494    11/20/07 E-mail between John Scanlon and           JL0195595-JL0195600        X
                Joseph Loomis “RE: Closing Balance
                Sheet”
495    11/21/07 E-mail to Jenni Loomis from John          JL0195601                  X
                Scanlon regarding business assets
496    11/21/07 E-mail from John Scanlon regarding        JL0195612-JL0195616        X
                “transferring assets that are not NEI
                business assets off the books”
497    5/28/08 E-mail to Joseph Loomis from John          JL0195807-JL0195809    X
                Scanlon regarding “ETA”
498    11/19/07 E-mail between John Scanlon and           JL0196068-JL0196070        X
                Joseph Loomis “RE: NEI Estimated
                Closing balance sheet”
499             RE:***Revised Draft SPA and Draft         JL0196229-JL0196231    X
                Employment Agreement***
500    2/15/07 E-mail between Joseph Loomis, Stuart       JL0197158-JL0197161        X
                Bennett and John Scanlon “RE: NEI
                Revenue for January 08”
501    10/20/08 E-mail from John Scanlon regarding        JL0197183-JL0197186        X


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               confirmation of receipt of e-mail
502   9/3/09   E-mail between Larry Heimer and          JL0197854-JL0197859   X
               Joseph Loomis “RE: Tax entries need to
               come out of the books ASAP”
503   7/27/08 E-mail between Larry Heimer and           JL0197871-JL0197873   X
               Joseph Loomis “RE: Draft Tax Filings”
504   8/25/08 E-mail between Larry Heimer and           JL0197899-JL0197902   X
               Joseph Loomis “RE: Net Enforcers”
505   8/7/07   E-mail between Joseph Loomis and         JL0198042-JL0198044   X
               Mark Hildebrandt “RE: My Setup”
506   6/4/08   E-mail between Michael Gilburd and       JL0198737-JL0198742   X
               Joseph Loomis “RE: NEI Draft
               Evaluation Report”
507   9/26/07 E-mail to Neal Dittersdorf from Michael   JL0199237-JL0199238       X
               Stanfield regarding “Loomis
               Compensation”
508   9/11/07 E-mail to Joseph Loomis from Phil         JL0199544-JL0199548       X
               Murawski regarding using outside
               services
509   9/24/07 E-mail between Joseph Loomis and Ross     JL0200688-JL0200689       X
               Volk “Re: Follow up”
510   8/13/07 E-mail between Joseph Loomis and          JL0201277             X
               David Burns "RE: Net Enforcers"
511   7/12/07 E-mail between Joseph Loomis and          JL0208712-JL0208715   X
               David Burns "LOI"
512   8/7/07   E-mail between Joseph Loomis and         JL0208721-JL0208727   X
               Mark Hildebrandt “RE: My Setup”
513   8/24/07 E-mail between Joseph Loomis and          JL0208728-JL0208736   X
               David Burns "RE: NDA"
514   2/26/07 E-mail between Joseph Loomis and          JL0209027-JL0209028   X
               David Burns "RE: Our Value"
515   9/27/07 E-Mail between Joseph Loomis and          JL0209532-JL0209538   X
               David Burns "RE: Tax issues"
516   10/4/07 E-mail from Joseph Loomis to Amanda       JL0211918-JL0211919   X
               Johnson regarding conference call with
               NEC
517   9/26/07 E-mail between Joseph Loomis and          JL0212392-JL0212395   X
               Andrew Jackson “RE: Net Enforcers -
               Greetings Andrew **IMPORTANT**”
518   6/19/07 E-mail between Joseph Loomis and          JL0220091-JL0220094   X
               Danielle DiDio “RE: Sony”
519   6/19/07 E-mail between Joseph Loomis and          JL0220095-JL0220099   X
               Danielle DiDio “RE: Sony”
520   10/17/07 E-mail between Joseph Loomis and         JL0221832             X
               David Burns "FW: ***Revised Draft
               SPA and Draft Employment


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                 Agreement***"

521   7/16/07    E-mail between Joseph Loomis and          JL0223018-JL0223021   X
                 David Burns "FW: LOI"
522   7/23/07    E-mail between Joseph Loomis and          JL0223553-JL0223556       X
                 David Burns "2007 Sales Projections
                 Expectations & Strategy"
523   10/1/07    E-Mail between Joseph Loomis and          JL0223781-JL0223784   X
                 David Burns "RE: Call with Michael -
                 Very detailed."
524   10/24/07   E-mail between Joseph Loomis and          JL0223955-JL0223957   X
                 David Burns “RE: Contract”
525   11/9/07    E-Mail between Joseph Loomis and          JL0224067-JL0224070   X
                 David Burns "RE: Excel File"
526   4/29/08    NEC Display Agreement                     JL0226757             X
527   1/15/08    E-mail between Joseph Loomis and          JL0232309-JL0232318   X
                 Jenni Loomis “FW: closing balance
                 sheet”
528   2/18/08    E-mail between Joseph Loomis and          JL0233333-JL0233334   X
                 Jenni Loomis “RE: Intuit”
529   11/21/07   E-mail between John Scanlon and           JL0245751-JL0245760   X
                 Joseph Loomis “RE: Closing Balance
                 Sheet”
530   11/27/07   E-mail between John Scanlon and           JL0245761-JL0245771   X
                 Joseph Loomis “RE: Closing Balance
                 Sheet”
531   5/28/08    E-mail between John Scanlon and           JL0246386-JL0246388   X
                 Joseph Loomis “RE: ETA”
532   10/30/07   E-mail to John Scanlon from Joseph        JL0246951-JL0246956   X
                 Loomis regarding providing all
                 documents that each schedule references
533   10/30/07   E-mail from John Scanlon to Joseph        JL0247380-JL0247382   X
                 Loomis regarding counsel understanding
                 changing files and data
534   6/22/07    User Manual for Temporary Users of        JL0252146-JL0252220   X
                 SEVIS Version 5.7
535   9/24/07    E-mail between Joseph Loomis and Ross     JL0253401-JL0253402       X
                 Volk “RE: Follow up”
536   2/19/08    E-mail between Joseph Loomis, Sheilah     JL0254921-JL0254928   X
                 Snyder, Larry Heimer and Jenni Loomis
                 “FW: jConnect fax from unknown - 7
                 page(s)”
537   2/18/08    E-mail between Larry Heimer, Sheilah      JL0256119-JL0256139   X
                 Snyder, Joseph Loomis and Jenni
                 Loomis “Intuit”



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538   6/4/08   E-mail between Joseph Loomis and           JL0286201-JL0286419   X
               Stuart Bennett "RE: Gartner Coverage"
539   12/3/07 Email between Joseph Loomis and             JLO0287003-           X
               Stuart Bennett "RE:NEC Report -            JLO0287006
               Format Updated"
540   4/2/06   Form 1120, US Corporate Income Tax         JL0306155-JL0306167   X
               Return, 2003
541   4/6/06   Form 1120, US Corporate Income Tax         JL0306168-JL0306184   X
               Return, 2004
540   4/2/06   Form 1120, US Corporate Income Tax         JL03039332-           X
               Return, 2003                               JL03039344
543   4/21/08 Application for Certificate of Title        JL0309764-JL0309765   X
               With/Without Registration
544   4/21/08 Application for Certificate of Title        JL0309766-JL0309767   X
               With/Without Registration
545   4/21/08 Application for Certificate of Title        JL0309768-JL0309769   X
               With/Without Registration
546   11/21/07 E-Mail between Joseph Loomis and           JL0313130-JL313134    X
               David Burns "RE: 2008 Acquisitions &
               Strategy"
547   6/19/08 E-mail between Joseph Loomis and            JL0313462-JL0313466   X
               Chris Cwalina “RE: Jelly”
548   5/14/08 E-mail between Joseph Loomis and            JL0313467-JL0313469   X
               Chris Cwalina “RE: Jelly”
549   7/29/07 E-mail between Joseph Loomis and            JL0313499-JL0313503   X
               David Burns "RE: LOI"
550   9/12/07 E-mail between Joseph Loomis and            JL0313626-JL0313627   X
               David Burns "RE: Valuation"
551   7/23/07 E-mail between John Scanlon and David       JL0313982-JL0313988       X
               Burns "Financials and projections"
552   8/6/07   E-mail between Joseph Loomis and           JL0313989-JL0313994   X
               David Burns "Intersections"
553   7/30/07 E-mail between David Burns and Neal         JL0314168-JL0314181       X
               Dittersdorf "Net Enforcers-Intersections
               LOI (Seller's Comments)"
554   8/1/07   Confidential Presentation, Market          JL0315329-JL0315386   X
               Overview and Company Overview
555            Net Enforcers, Inc. – Confidential &       JL0316366-JL0316412   X
               Protected Presentation – Technology
               Diagrams included
556   8/20/07 Executed Letter of Intent                   JL0317278-JL0317289       X
557   11/17/08 Termination Agreement for Sheilah                                X
               Snyder
558   12/4/08 WSJ.Com article "Discounters, Monitors                            X
               face battle on Minimum pricing"



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559   9/17/08  Jason Wood and Stuart Bennett             INTX000317-         X
               conversation about Joseph Loomis          INTX000319
               having employees work down in LE
560   6/6/08   Conversation between Jason Wood and       INTX000331          X
               Joseph Loomis regarding Loomis
               devoting working time to hi new
               company in violation of the Employment
               Agreement
561   8/5/08   Conversation between Joseph Loomis        INTX000337    X
               and Jason Wood regarding Jason stating
               he was not Joseph’s attorney
562            Schedule 5.1                              INTX002744    X
563   5/14/09 E-mail to Michelle Dickinson from          INTX047496-         X
               Madalyn Behneman regarding “Net           INTX047501
               Enforcers Revenue Recognition”
564   7/14/08 E-mail from Brien Risher to Madalyn        INTX049234    X
               Behneman and John Scanlon
565   4/13/09 E-mail to Courtney Fender from             INTX053029-   X
               Madalyn Behneman regarding                INTX053030
               “Summary of NEI Issues”
566            Distribution Classified as Expenses,      INTX053031-   X
               Fixed Assets, Reclassified as Fixed       INTX053033
               Assets, Backdating of Revenues, Larry
               Heimer, Other Items
567   3/9/09   E-mail from Madalyn Behneman              INTX053094-         X
               regarding “NEI Investigation”             INTX053103
568   3/9/09   E-mail from Madalyn Behneman              INTX053104-   X
               regarding “NEI Investigation”             INTX053113
569   6/4/08   E-mail between Michael Gilburd and        INTX055047-   X
               John Scanlon “RE: NEI Draft Evaluation    INTX055055
               Report”
570   7/9/07   E-mail from Michael Stanfield to Chip     INTX055943-   X
               Tsantes regarding “Intersections/Net      INTX055950
               Enforcers Technology Solutions
571   9/9/08   E-mail to Michael Stanfield from John     INTX058674-         X
               Scanlon regarding “NEI Debrief”           INTX058681
572   11/9/07 E-mail between Jason Wood and James        INTX058790-   X
               Dvorak “RE: ***E-mail 1 of 2***”          INTX058792
573   11/9/07 E-mail between Jason Wood, James           INTX058795-   X
               Dvorak and Neil Seidman “RE: ***E-        INTX058797
               mail 2 of 2***”
574   8/4/08   E-mail to Michael Stanfield from John     INTX058839-         X
               Scanlon regarding “Moving Forward”        INTX058846
575   11/30/07 Reznick Valuation – Intersections, Inc.   INTX058991-   X
               Acquisition of Net Enforcers, Inc.        INTX059064
               Purchase Price Allocation in Accordance


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                with SFAS Number 141

576   11/12/07 Schedule 7.3(e)(ii)                     INTX061623    X
577   8/14/08 Biegel & Waller Arizona income tax       INTX062697-   X
               filing requirement letter               INTX062698
578   8/14/08 Biegel & Waller Net Enforcers –          INTX062699-   X
               Arizona Analysis                        INTX062703
579   11/14/08 E-mail to Chris Cwalina from Tracy      INTX063449    X
               Ward regarding “IRS Exposure”
580   8/6/08   E-mail to Joseph Loomis from John       INTX073932-   X
               Scanlon regarding “Draft Tax Filings”   INTX073946
581   8/5/08   E-mail to Joseph Loomis from John       INTX073966-   X
               Scanlon regarding “Draft Tax Filings”   INTX073979
582   12/17/07 E-mail to Jason Wood from Joseph        INTX083593-   X
               Loomis regarding “KMW/UPP”              INTX083600
583   9/25/08 E-mail to Stuart Bennett from Joseph     INTX084409-   X
               Loomis regarding “NEI Budget” cuts,     INTX084412
               including removing Jason Wood and
               others
584   11/1/07 Schedule 7.3(e)(ii)                      INTX091270-   X
                                                       INTX091278
585   11/2/07   Schedule 7.3(e)(ii)                    INTX092110-   X
                                                       INTX092121
586   11/1/07   Schedule 7.3(e)(ii)                    INTX092290-   X
                                                       INTX092298
587   11/13/07 E-mail to Jason Wood from John          INTX093228-   X
               Scanlon regarding “NEI Customer         INTX093232
               Interview List”
588   11/12/07 Schedule 7.3(e)(ii)                     INTX093231-   X
                                                       INTX093232
589   11/13/07 Schedule 7.3(e)(ii)                     INTX093373-   X
                                                       INTX093374
590   11/1/07   Schedule 7.3(e)(ii)                    INTX093692-   X
                                                       INTX093693
591   11/1/07   Schedule 7.3(e)(ii)                    INTX093704    X
592   11/7/07   Schedule 7.3(e)(ii)                    INTX093712    X
593   9/10/09   Schedule 7.3(e)(ii)                    INTX093713-   X
                                                       INTX093714
594   5/8/08    2008 Benefit Summary Sheet             INTX104851-           X
                                                       INTX104852
595   11/12/07 Schedule 7.3(e)(ii)                     INTX136284-   X
                                                       INTX136287
596   2/15/08   E-mail to Joseph Loomis from John      INTX136742-           X
                Scanlon regarding “NEI Revenue for     INTX136743
                January 2008”


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597   8/10/07    E-mail between John Scanlon and Said      INTX137857-       X
                 Armutcuoglu “Net Enforcers”               INTX137893
598   12/18/07   E-mail to Kyvon Bina from John            INTX137961-           X
                 Scanlon regarding “INTX Options at        INTX137962
                 Low Strikes”
599   10/28/08   E-mail to Neal Dittersdorf from Chris     INTX138633-INTX       X
                 Cwalina regarding “Joe Loomis” and        INTX138634
                 charges against him
600   10/21/08   E-mail to Jason Wood from John            INTX138696-       X
                 Scanlon regarding “Letter as discussed”   INTX138697
601   11/1/07    Schedule 7.3(e)(ii)                       INTX145189        X
602   11/7/07    Schedule 7.3(e)(ii)                       INTX145190        X
603   10/21/08   E-mail to Joseph Loomis from Jason        INTX152045        X
                 Wood regarding “SPA/Employment
                 Agreement
604   11/7/07    Schedule 7.3(e)(ii)                       INTX152998        X
605   11/6/07    Schedule 7.3(e)(ii)                       INTX154980        X
606   11/12/07   Schedule 7.3(e)(ii)                       INTX155291-       X
                                                           INTX155294
607   11/7/07    Schedule 7.3(e)(ii)                       INTX155447-       X
                                                           INTX155450
608   11/7/07    Schedule 7.3(e)(ii)                       INTX155448-       X
                                                           INTX155449
609   11/7/07    Schedule 7.3(e)(ii)                       INTX159863-       X
                                                           INTX159865
610   11/7/07    Schedule 7.3(e)(ii)                       INTX159863-       X
                                                           INTX159864
611   11/1/07    Schedule 7.3(e)(ii)                       INTX160364-       X
                                                           INTX160365
612   11/7/07    Schedule 7.3(e)(ii)                       INTX160366-       X
                                                           INTX160369
613   11/7/07    Schedule 7.3(e)(ii)                       INTX162216        X
614   11/7/07    Schedule 7.3(e)(ii)                       INTX163566        X
615   11/1/07    Schedule 7.3(e)(ii)                       INTX166555-       X
                                                           INTX166557
616   10/21/08 E-mail between Jason Wood and Joseph        INTX170134-       X
               Loomis “SPA/Employment Agreement”           INTX170214
617   3/26/09 LOOMIS ENTERPRISES, LLC vs.                  INTX198775-       X
               KEITH JENKINS, Case No. CV2009-             INTX198824
               009842
618   10/9/08 Email between Jason Wood and Jason           INTX235941-       X
               Wood “RE: LE employment”                    INTX235943
619   2/3/07   Email between Danielle Didio and Jenni      INTX240757-       X
               Loomis “RE: Billing Excel for January       INTX240761
               2007”


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620      2/3/07    Email between Danielle Didio and Jenni   INTX240757-      X
                   Loomis “RE: Billing Excel for January    INTX240776
                   2007”
621      8/16/08   Email between Matthew Leberer and        INTX253498-      X
                   Jason Wood                               INTX253541
622                Distribution Classified as Expenses,     INTX053031-      X
                   Fixed Assets, Reclassified as Fixed      INTX053033
                   Assets, Backdating of Revenues, Larry
                   Heimer, Other Items
623      2/15/09   E-mail between Joseph Loomis and John    INTX379820-      X
                   Scanlon “FW: NEI Revenue for January     INTX379822
                   08”
624      4/13/09   E-mail to Courtney Fender from           INTX053029-      X
                   Madalyn Behneman regarding               INTX053030
                   “Summary of NEI Issues”
625      3/9/09    Memo entitled NEI Investigation from     INTX053094-      X
                   Madalyn Behneman, CC Tracy Ward,         INTX053103
                   Joetta Kilby
626                E-mail between Matt Leberer and Jason    INTX086976-      X
                   Wood “tattling” on Loomis                INTX086977
627      1/2/08    E-mail between Danielle DiDio, Jenni     JML0005788-      X
                   Loomis and Barbara Davis “RE: Billing”   JML0005811
                   Expert Report of Stan Smith                                        X
                   Expert Report of Jesse Lindmar                                     X

      Dated this 17th Day of December, 2009.


                                               Respectfully Submitted,

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                                               By Counsel

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of December 2009, a true and correct copy of the

  foregoing Trial Exhibit List was filed and served using the Court’s CM/ECF system, which will

  then send a notice of electronic filing (NEF) to the following counsel of record for the Plaintiffs:

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                                 Counsel for Plaintiffs

          And I hereby certify that I will electronically mail the documents to the following non-
  filing users:

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